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AO--91 (Rev. 02/09) Criminal Compiaint




              United States District Court
                                                               for the
                                                     Western District of New York



                           United States of America

                                                                                      Case No. 18-MJ-1182
                                            V.



                        ALEXANDRA SELANDER

                                         Defendant




                                                       CRIMINAL COMPLAINT



         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.


         On or about the date of October 23, 2018, in the County of Niagara, in the Western District of New York,
the defendant, an alien, did knowingly attempt to enter the United States after having been previously deported or
removed from the United States, without permission from the United States Attorney General or his successor, the
Secretary for Homeland Security, in violation of Title 8, United States Code, Section 1326(a)(2).


         This Criminal Complaint is based on these facts:


              Continued on the attached sheet.



                                                                                      1
                                                                                     Coydplainant's signature

                                                                      MARK E. JANN
                                                                     ENFORCEMENT OFFICER
                                                                      U.S. CUSTOMS AND BORDER PROTECTION
                                                                                      Printed name and title




Sworn to before me and signed in my presence.


Date:    October          . 2018
                                                                                         Judge's signature      /


                                                                      JEREMIAH j. McCarthy
City and State: Buffalo. New York                                        UNITED STATES MAGISTRATE JUDGE
                                                                                       Printed name and title
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               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT




STATE OF NEW YORK                  )
COUNTY OF NIAGARA                  )       SS;
CITY OF NIAGARA FALLS              )




               MARK E. JANN being duly sworn deposes and states:



       1.      I am an Enforcement Officer with United States Customs and Border

Protection ("CBP"), within the Department of Homeland Security("DHS"), and have been

so employed for the past 21 years.       In such capacity, my duties include investigating

persons who have violated federal immigration laws and other related federal statutes.



       2.      As part of my current duties, I have become involved in an investigation of

suspected violation of Title 8, United States Code, Section 1326(a)(2).



       3.      I make this affidavit in support of the annexed criminal complaint charging

Alexandra SELANDER, hereinafter referred to as "the defendant," an alien, bom in 1995,

in Ukraine, a citizen of Sweden with attempting to enter the United States without the

expressed consent of the Attomey General of the United States or the Secretary of

Homeland Security after having been deported or removed from the United States, in

violation of Title 8, United States Code, Section 1326(a)(2).
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        4.      This affidavit is being submitted for the limited purpose of securing a

Criminal Complaint. I have not included each and every fact known to me conceming this

investigation. I have set forth only the facts that I believe are necessary to establish probable

cause to believe that the Defendant did knowingly violate Title 8, United States Code,

Section 1326(a).



       5.       The Department of Homeland Security is an agency within the executive

branch of the government of the United States, and is the agency responsible for making the

determination to admit an applicant to the United States. Information conceming an

appbcant's tme identity, immigration status, criminal history, and prior immigration

history, such as prior removals, visa refusals, and entries, are matters material to an

admissibility determination.



       6.       On Tuesday, October 23, 2018, CBP Officer Paul Bucholtz was assigned to

auto primary inspection at the Niagara Falls, New York, port of entry in the Westem

District of New York. At approximately 12:05 am. Officer Bucholtz encountered the

Defendant, who was attempting to enter the United States as a pedestrian. The Defendant

presented a Swedish passport and claimed to be traveling to the casino in Niagara Falls,

New York for one day.          The defendant was then referred to secondary for further

processing.



       7.       In secondary, CBP Officer Sheryl HoUwedel conducted routine record checks

which resulted in positive response indicating the defendant had been ordered removed
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Nationality Act. Further record checks found that the defendant had been physically

removed from the United States to Sweden on July 18, 2018, aboard Scandinavia Airlines,

flight 946. Additional record checks found that the Defendant had been denied Electronic

System Travel Authorization(ESTA)on September 11, 2018.



      8.      CBF Officer Philip Stem conducted a scan of the defendant's fingerprints

which resulted in a positive match to Fingerprint Identification number('FIN') 1199747173,

FBI number MACL3M9T7,and Alien Registration number 208972639.



      9.      At approximately 2:20 am, CBF Enforcement Officer Matthew Sundlov

advised the defendant of her Miranda rights in the presence of CBF Officer Sheryl

HoUwedel. The Defendant stated that she understood her rights, and agreed to answer

questions without an attomey present. During questioning, the defendant stated that she is

a citizen of Sweden, who entered the United States on May 17, 2017, and had authorization

to stay until August 14, 2017. The Defendant stated Immigration Agents arrested her while

on or about April 27, 2018. The Defendant admitted she was physically removed from the

United States on or about July 18, 2018. She stated that she attempted to obtain Travel

Authorization(ESTA)to retum to the United States, but that this application was denied on

September 11, 2018. The Defendant admitted that she was attempting to enter the United

States today to travel to New York City to work.



       10.    CBF Enforcement Officer Mark Jann received electronic copies of documents

contained in the defendant's Alien File from the National Records Center located in Lee
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Summit, Missouri. These documents show the Defendant had previously been ordered

removed from the United States, and removed to Sweden via Chicago International Airport

on or about July 18, 2018, and barred from returning to the United States for ten years.

Record checks failed to show that any permission to enter the United States had been

applied for or received by the defendant.



              WHEREFORE, I respectfully submit the foregoing facts to establish probable

cause to believe that on or about October 23, 2018, Alexandra SELANDER was attempting

to enter the United States after having been previously deported or removed from the

United States, without permission from the United States Attorney General or his successor,

the Secretary for Homeland Security, in violation of Title 8, United States Code Section

1326(a)(2).




                                                MARKE.JANN /
                                                Enforcement Officer
                                                U.S. Customs and Border Protection



Sworn to before me this

23"^ day of October, 2018.




                Mc^ARTI
United States Magistrate Judge
